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            Report on Danish Criminal Law
                                of
                         Per Justesen



                         September 6, 2024
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     A. INTRODUCTION


1.             I have been asked by the Customs and Tax Administration of The Kingdom
of Denmark (Skatteforvaltningen), referred to below as "SKAT", to provide this report
on certain aspects of Danish criminal law and procedure. I am being compensated by
SKAT for my work on an hourly basis, without regard to the contents of this report or
the outcome of any litigation that relates to the issues discussed in this report.


2.             I list in the Appendix the documents I considered in forming the opinions
I express in this report. I have not authored any publications in the last ten years, and
I have never previously testified as an expert either at trial or deposition.


B.       My Experience


3.             I graduated as a lawyer from the University of Copenhagen in 1996. After
a year as an assistant attorney, I joined the Public Prosecution Service in 1997, and
served as a prosecutor for 22 years.


     •   In April 2006, I was appointed as an Assistant Deputy State Prosecutor at the
         Prosecutor's Office for Special Economic Crime (then known as S0IK and now
         known as NSK).
     •   In October 2008, I was appointed acting Deputy State Prosecutor (vic­
         estatsadvokat) at S0IK.
     •   In January 20 1 1, I was appointed the acting head of the Economic Crime Unit
         at the Copenhagen Police.
     •   In July 2011, I was appointed Deputy State Prosecutor at S0IK.
     •   In January 20 13, I was appointed Head of Advocacy at the Copenhagen Police,
         where I was head of the Economic Crime Advocacy Unit.
     •   In January 20 15, I was appointed head of the Advocacy Unit for Quality and
         Knowledge.
     •   In 2018 and 2019, I was seconded to S0IK to serve as prosecutor for an eco­
         nomic crime case unrelated to the dividend refund matter.


4.            As a prosecutor, I have handled very large financial crime cases.


5.             Since 20 19, I have operated as an independent defense attorney handling
mostly criminal cases, and I have the right to appear before the Supreme Court.


6.             Since 2002, I have taught administrative law at the University of Copen-
hagen. From 2015, I have taught criminal law at the University of Copenhagen, and I
have also taught at the Prosecution Service's internal courses on, among other things,
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administrative law and the handling of major criminal cases. Since 20 17, I have taught
tax criminal law in the Master in Tax program at Copenhagen Business School.


         C.     The Issues Raised


7.              SKAT has asked me to provide this report on the following aspects of
Danish criminal law and procedure:


          1. The stages of criminal investigations, including preliminary charges and in­
              dictments.
         2. If, in circumstances where the police believe they have sufficient evidence
              that a person committed a criminal offense, they have discretion to discon­
              tinue their investigation before preliminary charges are brought.
         3. If, in circumstances where the public prosecutor believes it has sufficient
              evidence to indict a person for a serious economic crime, the prosecutor has
              discretion to not charge or indict the person based on the person's efforts to
              make restitution to the victim or to otherwise cooperate with the victim's
              efforts to obtain restitution from others.
         4. Whether the efforts of a person under investigation to make restitution to a
              victim or to cooperate with the victim's efforts to obtain restitution from
              others are considered at any point in the criminal process.
         5.   Whether the Danish criminal system permits the type of plea bargaining that
              exists in the United States.


8.              Section I below explains the stages of criminal investigations through in-
dictment, and describes the indictment brought in the case against Matthew Stein,
Jerome Lhote and Luke McGee. It also describes the prosecution's obligation to present
mitigating evidence to the court after indictment.


9.              Section II discusses whether the police have discretion to discontinue the
investigation of a person who has not yet been preliminarily charged.


10.             Section III discusses whether a prosecutor has discretion to drop charges
against a person who has cooperated and paid restitution, the limited circumstances
under which a prosecutor may do so, none of which are applicable to this case, and the
point in a criminal case at which the cooperation of an accused can be considered.


1 1.            Section IV discusses the concept of plea bargaining in Denmark.
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SECTION I - The stages of a criminal investigation through indictment, and
the prosecutor's obligation to present mitigating evidence to the court after
indictment


12.              According to section 742 of the Danish Administration of Justice Act, it is
the police who investigate criminal offenses. The provision reads as follows:



         "Section 742. Reports of criminal offenses shall be submitted to the police.

         (2). The police shall initiate an investigation upon receiving a report or on their
         own initiative where there is reasonable suspicion that a criminal offense has been
         committed which is subject to prosecution by the public authorities." 1


13.              Investigations are conducted in order to determine whether there is a
basis for imposing criminal liability, cf. section 743 of the Danish Administration of Jus­
tice Act:


         "Section 743. The purpose of the investigation is to determine whether the con­
         ditions for imposing of criminal liability or other criminal penalty are present and
         to obtain information for deciding the matter and preparing for the proceedings
         before the court."



14.              A criminal investigation must thus determine whether there are grounds
for criminal liability and provide the material necessary to bring the case to court.


15.              Under Danish criminal procedure, there are three different status levels
for a person under investigation: (i) suspect (mist�nkt), (ii) preliminarily charged (sig­
tet), and (iii) accused (tiltalt).

16.              Suspicion of a criminal offense means that there is a greater or lesser
presumption that the person has committed a punishable offense. The person in ques­
tion will often not be aware that he/she is a "suspect" until preliminary charges are
initiated.


17.              The next stage of a criminal investigation is the "preliminary charge".
Whether a person is preliminarily charged depends on the strength of suspicion, which
can theoretically be described by the existence of circumstances that may indicate their
guilt.


1 In Denmark, the first subsection of a statute does not show subsection number"(!)". The num­
bering of the subsections only starts with subsection"(2)". However, subsequent discussion of the
first paragraph of the statute will refer to that as "subsection (1)", as reflected later in this report.
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18.             The decision to initiate preliminary charges is made by the police, but in
larger cases, it often occurs in cooperation with the Prosecution Service.


19.             In Gorm Toftegaard           Nielsen2 , The    Course of the        Criminal    Case
(Straffesagens gang), 2020, 7th edition, the preliminary charge is described on page 44
(Appendix 1):


       "A person suspected of having committed a crime needs certain protection against
       providing the police with self-incriminating information and needs the assistance
       of a defense counsel. The suspicion against the person must have a certain
       strength to trigger this protection - in law, such protective suspicion is described
       by the term 'preliminary charge'. It is very difficult to describe when a suspicion
       is so strong that the person is preliminarily charged. It is something as immeas­
       urable as degrees of suspicion. Gammeltoft-Hansen II p. 13 states that in order
       to bring preliminary charges, there must be "circumstances, clues, etc. which on
       an objective basis and reasonably may indicate his possible guilt".


20.             The difference between being a suspect and being preliminarily charged
is that a person who has been preliminarily charged has the right to retain a defense
attorney, cf. section 730( 1)of the Administration of Justice Act (Retsplejeloven), which
reads as follows:


       "A person who is preliminarily charged with a crime is entitled to retain a defense
       attorney to assist the person in accordance with the detailed rules provided be­
       low."


21.             Preliminary charges are initiated by informing the person, either in writing
or orally, about the content of the preliminary charges, and the preliminary charges will
be recorded in the Central Criminal Register. A preliminary charge is not a document
filed in a court.


22.             In this case, I have been presented with documents showing that Matthew
Stein was preliminarily charged on May 13, 2020, Jerome Lhote was preliminarily
charged on May 21, 2020, and Luke McGee was preliminarily charged on June 11, 2020.
See Stein_Lhote 0009378, 0009374, and 0008987, attached as Appendices 2-4.


2 Gorm Toftegaard Nielsen (b. 1947) is a distinguished Danish jurist and former professor of crim­
inal law and criminal procedure at Aarhus University from 1989-2016. With a career spanning var­
ious legal roles, including assistant police prosecutor, and acting judge, he has authored influential
works like"The Course of the Criminal Case" ("Straffesagens gang"). He is frequently consulted by
the Danish Parliament for his expertise. He holds a licentiate.jur. degree (PhD) and was awarded
the Anders Sand0e 0rsted Silver Medal in 2016 for his contributions to the field.
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23.             After a person has been preliminarily charged, it is the Prosecution Service
that decides whether an indictment should be brought. Section 7 19, subsection 1 of the
Danish Administration of Justice Act, states:


       " Public prosecution is the responsibility of the Chief of Police, unless otherwise
       provided by this Act or regulations issued pursuant to this Act."3


24.             If the Prosecution Service believes that it can provide the evidence nee-
essary for conviction, an indictment is brought, which is done by filing an indictment
with the court. Section 835, subsection 1 of the Administration of Justice Act, reads as
follows:


       "The Prosecution Service shall submit the indictment to the court. Upon submis­
       sion, the criminal case is initiated in court."


25.             When an indictment is filed with the court, the person is referred to as an
"accused".


26.             On the Prosecution Service's website, it is briefly described as follows (Ap-
pendix 5):


       "Once the police have completed the investigation, the Prosecution Service de­
       cides what happens next.


       A victim in a criminal case cannot decide whether to take you to court. That is the
       decision of the Prosecution Service.


       The Prosecution Service indicts you if they believe there is enough evidence to
       convict you. Indictment means that the case is sent to court with an indictment




3 Under the current version of Section 11Oa, Subsection 2, of the Administration of Justice Act,
S0IK (now NSK), the prosecuting service in Denmark, is headed by a Chief of Police:

       "The National Unit for Special Crime (NSK) is headed by a Chief of Police, who is responsible
       for police operations in the police district."

The Chief of Police is a prosecuting authority in Denmark, under Section 95 of the Administration
of Justice Act:

       "The public prosecutors are the Director of Public Prosecutions (Rigsadvokaten), the district
       attorneys (statsadvokaterne), the Chiefs of Police (politidirekt�rerne), and the persons em­
       ployed to assist them in the legal handling of criminal cases."
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        describing the criminal offense. You are then no longer preliminarily charged but
        indicted. You will receive a copy of the indictment."


27.             Only the Prosecution Service can decide whether to indict a person, and
they will indict if they believe there is enough evidence to convict.


28.             The overall role of the Prosecution Service in criminal cases is briefly de-
scribed in section 96 of the Administration of Justice Act, which reads as follows:


        "Section 96. The task of public prosecutors is to prosecute crimes under the pro­
        visions of this Act in conjunction with the police.
        (2). The public prosecutors shall advance every case with the speed that the na­
        ture of the case allows, thereby ensuring not only that the guilty are brought to
        justice but also that the innocent are not prosecuted."


29.             Section 96 ( 1) of the Administration of Justice Act imposes a duty on the
Prosecution Service to file an indictment if the conditions for a conviction are met.


30.             I refer to Hans Gammeltoft-Hansen, Criminal Justice I (Strafferetspleje I)
(2nd edition), page 18 1 (Appendix 6):


        "In its assessment of whether to abandon prosecution, the Prosecution Service
        must take into account the principles set forth in section 96. It follows that it is
        the duty of the Prosecution Service to pursue the crimes ex officio and with the
        necessary promptness".


3 1.            The Prosecution Service's decision to prosecute is thus determined solely
on whether the prosecution believes it has sufficient evidence to obtain a conviction. As
discussed more below, factors such as the preliminarily charged person's payment of
compensation or the preliminarily charged person's assistance in the investigation are
not relevant factors for the Prosecution Service to consider in deciding whether to indict.
It is only relevant to the sentencing if, after a person is indicted, the person is convicted
by the court.


32.             In this case, I have reviewed an indictment dated April 13, 2021, in which
Matthew Stein, Jerome Lhote and Luke McGee are accused of violating section 279, cf.
section 286, subsection 2 of the Danish Criminal Code (Straffeloven).


33.             The crime in the indictment is called fraud of a particularly serious nature.
The provisions referred to in the indictment read:
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      "Section 279. A person is guilty of fraud if, by wrongfully creating, confirming or
      exploiting a mistake to obtain an unlawful gain for himself or others, he induces
      another person to perform or fail to perform an act and thereby inflicts a property
      loss on such other person or someone to whom the performance or failure be­
      comes essential."


      "Section 286(2). The sentence can increase to imprisonment for a term not ex­
      ceeding eight years if any of the offences referred to in sections 278-280 and 283
      are of a particularly aggravating nature, especially because of the method used,
      because the offence was committed jointly by several persons or due to the scope
      of the gain made or intended, or when several offences have been committed. ff


34.             The indictment also states that section 88, subsection 1, second sentence
of the Danish Criminal Code is to be applied, which states:


      "In highly aggravating circumstances, the penalty can exceed the most severe
      penalty prescribed for any of the offenses by up to half. ff


35.             The counts in the indictment of April 13, 2021, are brought under the
most serious provisions of the Danish Criminal Code on economic crime. As charged,
the accused face up to 12 years in prison if convicted. That is the highest possible sen­
tence for a fraud offense in Denmark.


        i.    The prosecutor's obligation to present mitigating circumstances
        to the court


36.            Section 96(2) of the Administration of Justice Act is an expression of the
so-called principle of objectivity, according to which the Prosecution Service is obligated
to take into account any circumstances that indicate the innocence of a suspect or the
preliminarily charged.


37.             The same principle of objectivity applies to the prosecutor's presentation
of evidence to the court after an indictment has been filed. Reference is made to Hans
Gammeltoft-Hansen 4, Criminal Justice I (Strafferetspleje I) (2nd edition), page 67 (Ap­
pendix 7):



4 Hans Gammeltoft-Hansen (b. 1944) is a renowned Danish jurist with extensive expertise in crim­
inal procedure, immigration law, administrative law, and church law. He served as a professor of
jurisprudence at the University of Copenhagen from 1977 and was the Parliamentary Ombudsman
from 1987 to 2012. His tenure included handling notable cases like the Tamil Case and the N0rrebro
Case, establishing him as a highly qualified reference in legal matters.
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        "The effect of the application of the principle of objectivity is not only evident in
        the in-court production of evidence. The out-of-court activities of the Prosecution
        Service and the police must also be aimed at uncovering and presenting the ob­
        jective truth."


38.             It is thus the Prosecution Service's task to ensure that all information and
evidence that may be of importance to the court's decision is collected and presented to
the court.


39.              Under this principle, it is also the prosecutor's duty to collect and present
any mitigating circumstances to the court for purposes of sentencing, such as the fact
that the accused has made full or partial compensation to the victim, or assisted the
victim in its efforts to obtain compensation from other perpetrators of the crime.


40.             All information and evidence, including evidence of mitigating circum-
stances for sentencing purposes, must be presented to the court before the evidence is
closed. Section 877 of the Administration of Justice Act, states:


        "When the evidence has been presented, the prosecutor, followed by the defense
        counsel and the accused shall have the opportunity to speak about the results of
        the evidence and about the legal issues in the case (the closing arguments). Once
        the closing arguments are concluded, the case is set down for judgment."


4 1.              All criminal cases about economic crime are decided by the court.
There are no jury trials. 5


SECTION II: Do the Police have discretion to discontinue the investigation of
a person who has not been preliminarily charged?


42.             Section 749 of the Administration of Justice Act governs when the police
can reject or discontinue the investigation of a person who has not yet been preliminarily
charged:




5 See Section 686, Subsection 5, No. 1, of the Administration of Justice Act, which reads as follows:

       "Juries do not participate in
       1) criminal cases concerning violations of Sections 172, 173, 191, 191a, 286, 289, 290 or
       290a, Subsection 2, of the Danish Criminal Code, unless the case involves other offenses
       which, according to Subsection 4, must be decided with the participation of juries."
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        "Section 749. The police shall reject a report if there is no basis for initiating an
        investigation.
        Subsection 2. If there is no basis for continuing an initiated investigation, the
        decision to discontinue the investigation may be made by the police, provided that
        no preliminary charges have been brought. If preliminary charges have been
        brought, the provisions of sections 721 and 722 shall apply."


43.             I can refer to lb Henricson, Police Law (Politiret), 7th edition, 2022, page
153 f (Appendix 8):


        "On the other hand, whether a crime has been committed is primarily a matter of
        police discretion, and a report may therefore be rejected immediately or later if
        there is no reasonable suspicion that a publicly prosecuted offense has been com­
        mitted. With this exception, the police are subject to the so-called principle of
        legality, i.e. a duty to investigate the matter under the given circumstances."


44.             It is clear that the only discretion the police have to discontinue an inves-
tigation is if there is no reasonable suspicion that a criminal offense has been committed.
Payment of compensation or cooperation will thus in no way affect the police's obligation
to pursue an investigation and preliminarily charge a suspect.


SECTION III: Does the Prosecution Service have discretion not to preliminar­
ily charge or indict a person who has cooperated and paid restitution?


45.             I have been asked by SKAT whether, in circumstances where the Prose-
cution Service believes it has sufficient suspicion to preliminarily charge a person with a
serious economic crime or sufficient evidence to indict a person, the Prosecution Service
has the discretion not to preliminarily charge or indict based on the person's efforts to
provide restitution to the victim or to cooperate with the victim's efforts to obtain resti­
tution from others. The answer is no, the Prosecution Service does not have such dis­
cretion. Any efforts by the person to provide restitution or to cooperate can only be
considered by the Court as mitigating factors in determining an accused's sentence after
conviction. Danish prosecutors must follow what is referred to as the principle of op­
portunity, whereby there are limited exceptions to the general rule that, when the con­
ditions for conviction are present, the Prosecution Service must preliminarily charge,
and file and pursue an indictment. The circumstances under which these limited excep­
tions might apply are specifically set forth in the Danish Administration of Justice Act,
and none of the limited exceptions apply here.


46.             As described below, section 721 of the Act addresses the discontinuation
of preliminary charges, and section 722 addresses the discontinuation of an indictment.
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          i.     Discontinuation of preliminary charges under Section 721


47.             Section 72 1 of the Danish Administration of Justice Act sets forth the spe-
cific and limited circumstances under which a prosecutor can decide to drop a prelimi­
nary charge, none of which circumstances exist in the case of Stein, Lhote, and McGee.


48.             The Danish Administration of Justice Act, section 721, Subsections 1-4
states:


        "Section 721. Prosecution in a matter may be wholly or partially abandoned in
        cases where:
               1. The preliminary charge has proven to be unfounded.
               2. Further pursuit of the matter is not expected to result in the preliminarily
               charged person being found guilty.
               3. The Danish Criminal Code sections 10b or 89, would be applicable if the
               preliminarily charged person was found guilty where it is assessed that no
               or only an insignificant penalty would be imposed, and that conviction wou Id
               not otherwise be of significant importance.
               4. The pursuit of the case would involve difficulties, costs or processing
               times that are not proportionate to the importance of the case and the ex­
               pected penalty."


49.             The first two permitted reasons to drop a preliminary charge under section
721 are based on the merits of the case itself - i.e., whether the charge is unfounded
or the prosecutor does not believe that the person will be convicted of the offense. It is
clear that the cooperation of a charged person is not a permitted factor for d rapping a
preliminary charge under those two subsections.


so.             Subsection (3) of Section 72 1 also does not apply here. That subsection
refers to sections 10b and 89 of the Danish Criminal Code. Section 10b concerns indi­
viduals who have been punished abroad for the same act. I have been informed by
SKAT's counsel that Stein, Lhote, and McGee have not been punished outside of Den­
mark for the acts for which they are criminally charged in Denmark. Section 89 of the
Danish Criminal Code deals with individuals who have been convicted and punished for
a different criminal offense in Denmark and, if the new offense had been included in the
original judgment, would not have received a more significant sentence.


5 1.            The text of subsection (4) is the same exact wording that appears in Sec­
tion 722( 1)(5), which Section concerns indictments. The scope of Section 722( 1)(5) is
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described in report no. 1066/ 1986 on combating financial crime6 (betcenkning nr.
1066/1986 om bekcempelse af 0konomisk kriminalitet). The report states on page 189
among other things (appendix 9):


      "The Committee therefore proposes that a new provision be added to section 723
      of the Administration of Justice Act, according to which the prosecuting authority
      may wholly or partially abandon or waive an indictment if the pursuit of the case
      would result in difficulties, costs or processing times that are not proportionate to
      the importance of the case and the expected penalty."


52.              The section 723 proposed in the report was subsequently inserted in the
Administration of Justice Act as section 721( 1)(4) and section 722( 1)(5).


53.              Page 19 1 of report no. 1066/1986 continues:


      "Although the proposed provision formally provides the legal basis for dropping
      the entire indictment, the typical situation in practice will be that the abandonment
      of the indictment or the waiver under the new provision does not cover the entire
      case, but only some of several matters in a large set of related cases or part of a
      matter."


54.              And page 192:


      "Of course, it is not the intention of the proposal that cases can be pruned to such
      an extent that an expected multi-year prison sentence is reduced to a fine. On the
      other hand, it will not be excluded to reduce a case, even if this means that the
      expected sentence is reduced from, for example, 4 years in prison to 1-2 years in
      prison."


55.              As can be seen, the prosecutor has the option of dropping the prosecution
based on resource considerations, but even then a balance must also be made in relation
to the importance of the case and the expected punishment.


56.              The criminal charges in the Danish dividend cases are of the utmost im-
portance to Denmark, and the expected punishments in such cases are significant. For
example, to demonstrate the significance of the cases, I refer to the Ministry of Justice's
press release of December 6, 2023 (Appendix 10), where Minister of Justice Peter Hum­
melgaard, among other things, states:


6
 Report no. 1066/1986 was written by a committee appointed by the Minister of Justice. The com­
mittee was tasked with considering regulations for intensifying efforts against economic crime.
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       'The dividend case is an important case for Denmark, and it is one of the largest
       and most serious criminal cases of fraud. It is our treasury, our welfare society
       and our trusting community that are at stake."


57.              With respect to the expected punishment, I refer to the two cases related
to the dividend refund scheme in which defendants were indicted and have been con­
victed and sentenced. The two cases were brought against Guenther Klar and Anthony
Mark Patterson. Each was indicted with similar crimes and under the same provisions as
in the indictment against Stein, Lhote and McGee. Guenther Klar was convicted after
trial in the Court in Glostrup on February 2, 2024, and sentenced to 6 years in prison.
Anthony Mark Patterson pied guilty in the Court in Glostrup on March 1, 2024, and was
sentenced to 8 years in prison. The sentence against Anthony Mark Patterson is, to my
knowledge, the longest sentence for economic crime handed down in Denmark's history.


58.             In my opinion, the investigation and eventual charges against Stein, Lhote
and McGee could not have been dropped under subsection (4) because there are not
resource constraints in pursuing an economic crime of this magnitude and for which the
Danish government was the victim, the case is too important to the country to be
dropped, and the potential penalties are significant.


        ii.     Discontinuation of an indictment under Section 722


59.             The rules for the discontinuation of prosecution of an indicted person are
similar to those under section 721. Other than minor cases, the only relevant basis on
which the Prosecution Service may discontinue, in whole or in part, a prosecution once
an indictment has been brought is based on the same considerations discussed under
Section 72 1 ( 1)(4).


60.             Section 722 of the Danish Administration of Justice Act provides for the
possibility of dropping the indictment in cases where the evidentiary and legal conditions
for a conviction must be assumed to be present.


6 1.            The provision on dismissal of indictment is found in section 722, of the
Danish Administration of Justice Act, which states:


       " ( 1) Indictment in a matter may be wholly or partially dropped in cases where:
              The alleged offence cannot result in a penalty higher than a fine according
              to the law, and the offence is of minor penal significance.
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              2. It is stipulated as a condition under section 723 ( 1), that the preliminar­
              ily charged person is subject to measures pursuant to section 32 and Part
              5 of the Child Act.

              3. The preliminarily charged person was under 18 years old at the time of
              the offense, and conditions are stipulated under section 723 ( 1).

              4. The Danish Criminal Code section 10b or section 89, is applicable,
              where it is assessed that no or only an insignificant penalty would be im­
              posed, and that conviction would not otherwise be of significant im­
              portance.

              5. The pursuit of the matter would involve difficulties, costs or processing
              times that are not proportionate to the importance of the matter and the
              expected penalty.

              6. The legislation contains specific provisions allowing the waiver of indict­
              ment.

              7. This follows from regulations stipulated by the Minister of Justice or the
              Director of Public Prosecutions.

        (2) In other cases, indictment may only be waived if there are particularly miti­
        gating circumstances or other special conditions, and prosecution is not deemed
        necessary for reasons of public interest.
        (3) The Minister of Justice or the person authorized by the Minister of Justice shall
        set detailed rules on the competency to waive indictments."


62.               It is clear on its face that most of these provisions do not apply to the
current case.
             a.    Subsection ( 1) does not apply as the potential penalties are much more
                   severe than a fine and the offense is not of minor penal significance. It
                   should also be noted that for such minor offenses, the prosecution can
                   consider whether the accused has paid compensation to a victim in as­
                   sessing whether to drop the indictment. However, in this context, "drop­
                   ping" the indictment means that the prosecutor deems the accused
                   guilty of the offense but does not pursue the indictment in court and
                   therefore the court does not impose a sentence. The accused, however,
                   has a conviction which is recorded in the Central Criminal Register, and
                   as a result the offender can appeal the prosecutor's decision.
             b. Subsection (2) does not apply because the provision concerns initiatives
                   for children.
             c.    Subsection (3) does not apply because the defendants were older than
                   18 at the time of the offense.
             d. Subsection ( 4) does not apply for the same reasons Section 721 (3) does
                   not apply, as described in paragraph 5 1 above.
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             e. As noted earlier, section 722(1)(5) is worded in the same way as section
                   72 1 ( 1)(4) of the Administration of Justice Act, addressed in paragraphs
                   51-54 above.
             f.    Subsection (6) does not apply because the statute under which the de­
                   fendants were indicted does not contain specific provisions permitting
                   indictment to be drapped.
             g.    Finally, reference can be made to section 722, subsection 1, no. 7 of the
                   Administration of Justice Act, according to which indictment may be
                   dropped if it follows from provisions laid down by the Minister of Justice
                   or the Director of Public Prosecutions.     Pursuant to the provision, the
                   Director of Public Prosecutions has issued Executive Order no. 792 of
                   June 18, 20 18, on the right of chiefs of police and public prosecutors to
                   drop indictment. The Executive Order (Appendix 1 1) covers non-appli­
                   cable cases such as cases of minor criminality and cases committed by
                   persons who are mentally unbalanced, and thus does not apply to the
                   indictment of April 13, 2021.


63.               The exception identified in Section 722 (2) also does not apply to this
case. First, the provision incorporates the principle of objectivity by which the Prosecu­
tion Service is obligated to bring an indictment if there is a legal basis for it unless the
prosecution is not required in the public interest.


64.               Second, the scope of Section 722 (2) has been described as follows in The
Commentary on the Administration of Justice Act (Kommenteret Retsplejelov), 1 1th edi­
tion, Volume 4, 2024, page 64 (Appendix 12)7:


      "Waiver of indictment pursuant to subsection (2) falls into different categories.
      Among the most important are the following:


       - "Technical" waiver of indictments, where the preliminarily charged person is
      already subject to the measure - for example, placement in a psychiatric hospital
       - that would likely be the outcome if indictment were brought.


       - Cases against foreigners where the preliminarily charged person has left the
      country, making prosecution impossible or at least so difficult that the costs and
      efforts of pursuing it would not be proportionate to the significance of the matter.



7 Volume 4 of the Commentary on the Administration of Justice Act (Kommenteret Retsplejelov) is
authored by Anne Louise Bormann, Jens-Christian Bulow, Jesper Hjortenberg, Mette Lyster Knud­
sen, Jens R0n, og Thomas R0rdam, who are all highly experienced and recognized within this field.
They have experience as a Supreme Court Judge, State Prosecutor, High Court Judge, President of
the Supreme Court and High Court.
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        - Traffic matters where the preliminarily charged person causes the death or se­
        rious bodily harm of a close relative or possibly inflicts serious injury on him/her­
        self.


        - Matters where the mental state of the preliminarily charged person is deviant,
        but the nature of the alleged crime does not require special measures."



65.             In the case against Matthew Stein, Jerome Lhote and Luke McGee, the
indictment of April 13, 2021, charges have been brought under the most serious provi­
sions of the Danish Criminal Code on economic crime. As a result, it is clear that the
case is not covered by the provision in section 722(2) of the Danish Administration of
Justice Act.


66.             This means that the Prosecution Service is obligated to bring an indict­
ment in the case, even though the defendants have paid restitution and assisted with
the investigation.


67.             In this regard, reference can also be made to The Criminal Procedure
(Straffeprocessen) by Michael Kistrup, Jakob Lund Poulsen, Thomas R0rdam, and Jens
R0n8 , 4th edition, 2023, page 129 (Appendix 13).


        "The principle of objectivity entails, as one of its elements, that the Prosecution
        Service cannot, as a rule, refrain from taking steps to prosecute persons whom
        the Prosecution Service believes are guilty of a criminal offense. In these cases,
        the person must normally either be indicted or a waiver of indictment pursuant to
        Section 722 must be issued. Thus, there is no general rule to do nothing in re­
        sponse to a detected crime, but Section 721 (4), paragraph 4, provides for the
        possibility of abandoning prosecution for resource-related reasons, even if there
        is a presumption of guilt."


68.             And on page 136:


        "If the Prosecution Service's considerations lead to the conclusion that a criminal
        offense has been committed, and that a conviction can be obtained against the



8
  Chapter 4 in The Criminal Procedure (Straffeprocessen) is authored by Jens R0n, who is a High
Court Judge and the Chief Justice at the Western High Court. Jens R0n has previously worked for
8 years as a state prosecutor at the Office of the Director of Public Prosecutions, and prior to that,
he worked in the Ministry of Justice for nearly ten years. For six of those years, R0n held a position
as Head of Office.
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        perpetrator, the perpetrator must be indicted, or, in special circumstances, a
        waiver of indictment must be issued."


69.            Thus, the Prosecution Service cannot refrain from issuing and fully pursu-
ing an indictment in a case where it believes there is a basis to preliminarily charge or
indict a person, unless the conditions of Section 72 1 or Section 722 of the Administration
of Justice Act are met.


70.            In addition to the source materials supporting this opinion, I also draw
from my personal experience. As stated in the introduction to this Report, I worked in
the Prosecution Service for 22 years, including as the Director of Public Prosecutions and
S0IK (now NSK), and have since worked as a defense attorney for five years.


71.            In connection with my work in the Prosecution Service, at no time did I
encounter a case where the Prosecution Service believed it had sufficient evidence to
indict and convict a person but chose not to indict that person because the person had
made partial or full restitution to the victim or had cooperated with the victim's efforts
to obtain restitution from others, or cooperated with the police or prosecutor's investi­
gation. I also have not seen such a case since I started working as a defense attorney
approximately five years ago. It was and is my understanding that the Prosecution
Service does not have the discretion to do so.


72.            This does not mean that an accused's prior efforts to pay restitution or
cooperate with the victim's efforts to obtain restitution are never taken into account. In
the Danish criminal system, efforts by an accused to cooperate with authorities, to pro­
vide restitution to a victim, or to cooperate with a victim's efforts to obtain restitution
from others are considered only at the sentencing stage as mitigating circumstances if
the court has determined the person to be guilty of the offense.


73.            Section 82(1) of the Danish Criminal Code contains a number of provisions
that are generally to be included as mitigating circumstances when determining the
sentence.


74.            In the present context, the relevant provisions are no. 10 and 11, which
read as follows:


        "When determining a sentence, it must normally be considered a mitigating cir­
        cumstance,


        10) that the offender has provided information crucial to solving criminal acts
        committed by others,
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        1 1) the offender has remedied or attempted to remedy the damage caused by the
        criminal act."


75.             The provisions just referred to are only applied at sentencing when the
court has determined that the person concerned is guilty of one or more charges in the
indictment.


         iii.   The Prosecution Service's email of December 21, 2020


76.             Based on a document produced in this case that I have reviewed, one of
the prosecutors responsible for the matter correctly informed the attorneys for Luke
McGee that any cooperation efforts are only considered as a mitigating circumstance at
sentence. In an e-mail dated December 2 1, 2020 to Attorney Jan Schneider, Special
Prosecutor Anders M0llmann seems to respond to a request from Mr. McGee's counsel
for a formalized agreement whereby Mr. McGee would cooperate with the criminal au­
thorities. See Stein_Lhote0009020 (attached as Appendix 14 along with an uncertified
translation of the document). Mr. M0llmann explains that there are various conditions
Mr. McGee must meet in order to enter into any such agreement, including that Mr.
McGee must admit to the charges against him.


77.             Mr. M0llmann further explains that even if Mr. McGee does not enter into
any formal agreement to cooperate, "any cooperation by McGee in investigating the case
against other persons could have a mitigating impact on the sentence. Thus, as is gen­
erally known, there is practice in Danish law for the courts to take into account the
contributions of the accused with decisive information about the criminal acts of others
as a mitigating factor...
In the event that McGee comes forward with decisive information - and documentation
- about the complicity of other persons in the unlawful recovery of dividend tax from
Denmark, the attending prosecutor, even without the above formalization, will in good
faith highlight McGee's cooperation in the investigation as a mitigating factor, and the
prosecutor will similarly take any cooperation into consideration when claiming the sen­
tence during the trial hearings. In this instance too, it is of course solely for the court to
decide whether and to what extent it will impact sentencing."


78.             What is stated in the email is in accordance with the rules applicable in
Denmark on plea bargaining. See Section IV below. Mr. M0llmann's statements to Mr.
McGee's lawyer is also consistent with my experience as both a prosecutor and criminal
defense attorney in Denmark.


SECTION IV: Plea Bargaining in Denmark
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79.               Unlike in the United States there is no formal plea bargaining in the
Danish criminal system. I refer to J0rn Vestergaard 9, Criminal Procedure - Basic Fea­
tures of Danish Criminal Justice (Straffeproces - grundtrcek af dansk strafferetspleje),
20 18, 2nd edition, which on pages 164 ff. states the following (Appendix 15):


        "In Danish criminal procedure, as previously mentioned, it is expressly forbidden
        to make promises solely for the purpose of extracting a confession. And sentenc­
        ing, as already emphasized, is a matter for the courts, not a matter available to
        the police or the Prosecution Service by promising the preliminarily charged per­
        son a certain sentence. So, a prosecutor is not allowed to offer to cut the case by
        dropping parts of the indictment in exchange for a guilty plea on the remaining
        part. In principle, it is simply not accepted that the outcome of a case is negoti­
        ated. However, the police and the Prosecution Service are allowed to indicate to
        the preliminarily charged person that if the person is cooperative during the in­
        vestigation, there may be grounds for the prosecutor to point out in court that
        this should be taken into account in sentencing.


        There is no doubt that in practice the police and Prosecution Service will often be
        prepared to reduce the indictment after a discussion with the preliminarily charged
        person or the person's defense counsel, if it can be expected that the preliminarily
        charged person will then be willing to make a partial confession. The actual effect
        of the preliminarily charged person agreeing through his defense counsel to plead
        guilty to a part of the preliminary charge will then be that the Prosecution Service
        will drop the rest. This also applies to a certain extent with regard to matters that
        the prosecutor had reasonably good prospects of being able to prove.


        Under no circumstances can the principle of opportunity justify a promise not to
        prosecute more serious crimes as part of an agreement with a preliminarily
        charged person."


80.             The Danish Supreme Court has distinguished this aspect of the Danish
criminal system from that in the United States. In the case of (U 2009.941 H), the Court
considered whether witnesses who had entered into plea bargains in the United States
should be permitted to testify in a court proceeding in Denmark since Denmark does not
permit plea agreements in its criminal system. In its January 9, 2009 opinion, the Court
stated the following about the use of such agreements in Denmark:


9 J0rn Vestergaard (b. 1948) is a Danish jurist and former professor emeritus of criminal law at the
University of Copenhagen (2007-2020). He co-founded the Danish Association for Legal Policy and
has been a prominent public commentator. He served on various committees and councils, including
for the Danish state, and has published extensively on criminal law.
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        'The four persons whom the Prosecution Service wishes to call as witnesses in the
        trial against T l, T2 and T3 have been convicted in the USA in the same set of
        related cases, after having entered into so-called plea bargains with the US State
        Attorney. These agreements entail, among other things, that the persons con­
        cerned have undertaken to cooperate with the authorities by giving statements in
        cases against joint perpetrators, and that a breach of this obligation may result in
        the loss of the benefits in terms of waiver of prosecution and reduction of sentence
        that have been obtained or promised."


        "Even though plea bargain agreements such as those in question cannot legally
        be entered into by a Danish Prosecution Service, they cannot be considered con­
        trary to fundamental Danish legal principles. Schemes that to a certain extent
        have the same character and purpose as the US plea bargain agreements are also
        known in Danish law. Thus, section 82, paragraph ( 10) of the Danish Criminal
        Code contains a provision for a reduced sentence in cases where the perpetrator
        has provided information that is crucial to the investigation of criminal offenses
        committed by others."


81.             Thus, the Supreme Court has held that while formal plea bargain agree-
ments are not legal in Denmark, the sentence of those who provide cooperation can be
reduced by a court under section 82 ( 1) ( 10) of the Danish Criminal Code.


82.             The Danish Ministry of Justice has made clear the same point in a matter
related to the Danish tax refund scheme.        The Danish State Auditors posed various
questions to the Ministry of Justice in connection with the refund scheme, including the
following:


        "3. ( . . .) Can settlements have criminal consequences, e.g. preclude subsequent
        prosecution of the debtors?"


83.             In its response dated August 3 1, 2020, the Ministry of Justice stated, in
relevant part, the following (Appendix 16):


        "The Ministry of Justice in general terms states that the competency to prosecute
        in criminal cases generally rests with the Prosecution Service, cf. section 7 19 of
        the Danish Administration of Justice Act. It is thus for the Prosecution Service to
        decide whether an indictment should be brought in a criminal case, including who
        should be indicted. In this connection, it should be noted that so-called plea bar­
        gaining, where the Prosecution Service enters into an actual agreement on
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                                                                                                                                         Ret Sc Ra d
                                                                                                                                         A D V O K AT E R

         i m p u n ity o r a red u ced sente n ce, does n ot a p p l y i n Da n i sh l a w . T h e q u esti o n of
         cri m i n a l l i a b i l ity i s fo r t h e co u rt to dec i d e . A sett l e m e n t a g re e m e n t ca n n ot c h a n g e
         th i s . "


84 .                  T h e q u ote fro m Veste rg a a rd 's treatise o n C ri m i n a l Proced u re a bove ( pa r-
a g ra p h 79) s h ows that t h e Prosec u t i o n S erv i ce may i n d i cate to t h e accused p erson that
t h ey w i l l m a ke t h e cou rt awa re of t h e accused p erson 's wi l l i n g n ess to coo perate, a n d
t h a t th i s s h o u l d be i n c l u d ed a s a m it i g ati n g ci rcu m sta n ce at sentenci n g .


85.                   Th i s co n c l u s i o n i s confi rmed b y t h e D i recto r o f Pu b l i c P rosecu t i o n s ' N ot i ce
N o . 1 1/ 1 998, issued on Octo ber 2 1 , 1 998, w h i c h states (Ap p e n d i x 1 7 ) :


         " ( . . . ) t h a t it m ay be i n d i cated t o a p re l i m i n a ri ly c h a rged person t h a t th e P rosecu ­
         t i o n Se rv i ce w i l l e m p h a s ize t h e p e rso n 's assi sta n ce i n p rovi d i n g i nfo rmation a bou t
         acco m p l i ces a s a fa cto r that m ay l e a d to a red u ced sente n ce . S u c h i n d i cati on
         s h o u l d o n ly be g iven i n c as e s of m o re seri o u s cri m es, s u c h a s m aj o r d ru g cases,
         cases i nvolvi n g seri o u s v i o l e n t cri m e and m u rd e r, o r cases i nvolvi n g exte n s ive or
         seri o u s fi n a n c i a l cri m e


         It m u st be m a d e very clea r t o t h e p re l i m i n a ri ly c h a rg ed p erson t h a t t h e re i s n o
         g u a ra ntee t h a t state m e nts a bo u t acco m p l i ces w i l l l e a d t o a red u ct i o n i n sente n ce,
         a s that i s a m atte r fo r t h e co u rt to d eci d e . " 1 0


86.                   I n t h e e m a i l fro m t h e Speci a l Prosecutor, M r. M 0 l l m a n n , to M r. M cGee's
l a wyer refe re n ced i n p a rag ra p h s 7 7 a n d 78 a bove ( a p p e n d i x 1 4 ) , M r . M 0 l l m a n n refe r­
e n ces th i s ci rcu l a r fro m the D i rector of P u b l i c Prosecu t i o n s , correctly n oti n g that a n y
coo perat i o n m u st be with i n t h e fra m ework s e t ou t i n that c i rcu l a r .




Cope n h a g e n o n S e pte m be r 6, 2 0 2 4

p   t2A,, �

Per J u dse n
Atto rney ( H )



10 A c i rcu l a r, s u c h a s Notice N o . 1 1/ 1 998 cited a bove, i s a g e n e ra l serv i ce d i rective
issued by a su p e r i o r a d m i n i strative a u t h o rity a n d i s d i rected at su b ord i n ate a u t h o riti e s .
A c i rcu l a r issued by a n a d m i n i strative a u t h o rity i s b i n d i n g o n t h o s e w h o w o r k fo r t h a t
a u t h o rity . Th i s c i rcu l a r re m a i n s i n fo rce a n d i s p a rti a l ly re p rod u ced o n page 3 1 i n t h e
D i recto r of Pu b l i c Prosecu t i o n s ' N otice sect i o n o n sente n c i n g fro m J u ly 2 , 2 0 2 4 (Ap p e n d ix
1 1).
